Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 1 of 41 Page ID #:290




   1    Stephen McArthur (SBN 277712)
        stephen@smcarthurlaw.com
   2    Thomas Dietrich (SBN 254282)
        tom@smcarthurlaw.com
   3    THE MCARTHUR LAW FIRM, P.C.
        9465 Wilshire Blvd., Ste. 300
   4    Beverly Hills, CA 90212
        Telephone: (323) 639-4455
   5
        Attorneys for Plaintiff Thrive
   6    Natural Care, Inc.
   7

   8

   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,              Case No. 2:20-CV-9091-PA-AS
  13                    Plaintiff,              DECLARATION OF STEPHEN
                                                MCARTHUR IN SUPPORT OF
  14          v.                                PLAINTIFF’S MOTION TO
                                                STRIKE AFFIRMATIVE DEFENSE
  15    THRIVE CAUSEMETICS, INC.,
                                                Hon. Percy Anderson
  16                    Defendant.
                                                Hearing Date: August 30, 2021
  17                                            Time: 1:30 p.m.
                                                Courtroom: 9A
  18

  19

  20

  21         I, Stephen McArthur, hereby declare as follows:
  22         1.     I am an attorney at law, duly admitted into practice before the State of
  23   California and this Court. I am an attorney with The McArthur Law Firm, P.C.,
  24   counsel for Plaintiff Thrive Natural Care, Inc. (“Thrive”). I make this Declaration in
  25   support of Thrive’s Motion to Strike Affirmative Defense. I am over 18 years of
  26   age and make this declaration of facts known to me and, if called upon, I could and
  27   would testify competently to the facts stated herein.
  28         2.     All of the exhibits attached to this declaration were obtained from the
                                                                        MCARTHUR DECLARATION
                                                                       Case No. 2:20-CV-09091-PA-AS
                                                 -1-
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 2 of 41 Page ID #:291




   1   U.S. Patent & Trademark Office’s (“PTO”) Trademark Status & Document
   2   Retrieval (“TSDR”) website.
   3         3.       Attached hereto as Exhibit A is a true and correct copy of the Request
   4   to Divide filed by Thrive on October 4, 2013, in the prosecution of Trademark
   5   Application Serial No. 85/726,058 (the “’058 Application”).
   6         4.       Attached hereto as Exhibit B is a true and correct copy of the
   7   Statement of Use filed by Thrive on October 4, 2013, in the prosecution of the ’058
   8   Application.
   9         5.       Attached hereto as Exhibit C is a true and correct copy of the PTO’s
  10   notice granting the Request to Divide the ’058 Application, creating Trademark
  11   Application Serial No. 85/980,517 (the “’517 Application”).
  12         6.       Attached hereto as Exhibit D is a true and correct copy of the PTO’s
  13   Notice of Acceptance of Statement of Use for the ’517 Application, stating that
  14   application would now register.
  15         7.       Attached hereto as Exhibit E is a true and correct copy of the
  16   registration certificate for U.S. Trademark Registration No. 4,467,942 (the “’942
  17   Registration”) and the PTO’s online listing entry for the ’942 Registration.
  18         8.       Attached hereto as Exhibit F is a true and correct copy of Thrive’s
  19   Combined Declaration of Use and Incontestability in connection with the ’942
  20   Registration filed the PTO on January 13, 2020.
  21         9.       Attached hereto as Exhibit G is a true and correct copy of the PTO’s
  22   Notice of Acceptance and Acknowledgment of Thrive’s Combined Declaration of
  23   Use and Incontestability in connection with the ’942 Registration, issued on March
  24   7, 2020.
  25   ///
  26   ///
  27   ///
  28   ///
                                                                         MCARTHUR DECLARATION
                                                                        Case No. 2:20-CV-09091-PA-AS
                                                   -2-
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 3 of 41 Page ID #:292




   1         I declare under penalty of perjury under the laws of the United States of
   2   America that the foregoing is true and correct. Executed on July 27, 2021.
   3

   4                                              /s/ Stephen McArthur
                                                  Stephen McArthur
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  28
                                                                       MCARTHUR DECLARATION
                                                                      Case No. 2:20-CV-09091-PA-AS
                                                -3-
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 4 of 41 Page ID #:293




                                Exhibit A
            Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 5 of 41 Page ID #:294


PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)


                                               Trademark/Service Mark Request to Divide


                                                    The table below presents the data as entered.

                                      Input Field                                                 Entered
             SERIAL NUMBER                                      85726058
             LAW OFFICE ASSIGNED                                LAW OFFICE 102
             EXTENSION OF USE                                   YES
             MARK SECTION
             MARK                                               THRIVE
             REQUEST TO DIVIDE                                  YES
                                                                Non-medicated skin care preparations, namely facial lotions, cleansers and
             GOOD(S)/SERVICE(S) IN USE                          creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving
                                                                preparations; after shave lotions and creams (Class 03)
                                                                Personal care products for cosmetic use, namely, hair shampoos and
                                                                conditioners, hair styling preparations; body and hand washes, soaps and
                                                                gels; non-medicated skin care preparations, namely body lotions; cosmetic
             GOOD(S)/SERVICES INTENT TO USE                     sun care preparations and sunscreens; lip creams and balms; antiperspirants
                                                                and deodorants for personal use; shaving creams and gels; non-medicated
                                                                baby care products, namely baby lotions, creams, body cleansers,
                                                                shampoos, gels and washes, diaper rash creams and ointments (Class 03)
             SIGNATURE SECTION
             DECLARATION SIGNATURE                              /Alex G. McIntosh/
             SIGNATORY'S NAME                                   Alex G. McIntosh
             SIGNATORY'S POSITION                               CEO & founder
             DATE SIGNED                                        10/03/2013
             REQUEST TO DIVIDE SIGNATURE                        /Ariana G. Hiscott/
             SIGNATORY'S NAME                                   Ariana G. Hiscott
             SIGNATORY'S POSITION                               Attorney of Record, California Bar Member
             DATE SIGNED                                        10/04/2013
             AUTHORIZED SIGNATORY                               YES
             PAYMENT SECTION
             NUMBER OF CLASSES IN USE                           1
             SUBTOTAL AMOUNT [ALLEGATION OF USE FEE]            100
             REQUEST TO DIVIDE FEE                              100
             NUMBER OF CLASSES REQUIRING NEW
             APPLICATION FEE
                                                                1

             SUBTOTAL AMOUNT [NEW APPLICATION FEE]              325
             TOTAL AMOUNT                                       525
             PAYMENT METHOD                                     DA
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 6 of 41 Page ID #:295


FILING INFORMATION
SUBMIT DATE                     Fri Oct 04 20:28:47 EDT 2013
                                USPTO/SOU-XXX.XXX.XXX.XX-
                                20131004202847239499-8572
                                6058-500acbc31eb6f307d103
TEAS STAMP                      7cd198dcaf85fa7124ea3cb80
                                9610a339b7e19f58ccd4e1-DA
                                -6746-2013100217235908822
                                6
            Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 7 of 41 Page ID #:296

PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)




                                            Trademark/Service Mark Request to Divide
To the Commissioner for Trademarks:

MARK: THRIVE
SERIAL NUMBER: 85726058




REQUEST TO DIVIDE
The applicant is requesting to divide the application and specifies the following:
The following good(s) or service(s) is/are now in use: Non-medicated skin care preparations, namely facial lotions, cleansers and creams, creams
and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams (Class 03)
The following good(s) or service(s) remain(s) under the Section 1(b), intent to use basis: Personal care products for cosmetic use, namely, hair
shampoos and conditioners, hair styling preparations; body and hand washes, soaps and gels; non-medicated skin care preparations, namely body
lotions; cosmetic sun care preparations and sunscreens; lip creams and balms; antiperspirants and deodorants for personal use; shaving creams
and gels; non-medicated baby care products, namely baby lotions, creams, body cleansers, shampoos, gels and washes, diaper rash creams and
ointments (Class 03)



A fee payment in the amount of $100 will be submitted with the form, representing payment for the allegation of use for 1 class.

A fee payment in the amount of $100 will be submitted with the form, representing payment for the request to divide fee.

A fee payment in the amount of $325 will be submitted with the form, representing payment for the new application fee for 1 class.
        Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 8 of 41 Page ID #:297


                                                                   Declaration


Applicant requests registration of the above-identified trademark/service mark in the United States Patent and Trademark Office on the Principal
Register established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq., as amended). Applicant is the owner of the mark sought to be
registered, and is using the mark in commerce on or in connection with the goods/services identified above, as evidenced by the attached
specimen(s) showing the mark as used in commerce.

The undersigned, being hereby warned that willful false statements and the like so made are punishable by fine or imprisonment, or both, under
18 U.S.C. Section 1001, and that such willful false statements may jeopardize the validity of the form or any resulting registration, declares that
he/she is properly authorized to execute this form on behalf of the applicant; he/she believes the applicant to be the owner of the
trademark/service mark sought to be registered; and that all statements made of his/her own knowledge are true; and that all statements made on
information and belief are believed to be true.


Signature: /Alex G. McIntosh/   Date Signed: 10/03/2013
Signatory's Name: Alex G. McIntosh
Signatory's Position: CEO & founder

Request to Divide Signature:

Signature: /Ariana G. Hiscott/    Date Signed: 10/04/2013
Signatory's Name: Ariana G. Hiscott
Signatory's Position: Attorney of Record, California Bar Member

Serial Number: 85726058
Internet Transmission Date: Fri Oct 04 20:28:47 EDT 2013
TEAS Stamp: USPTO/SOU-XXX.XXX.XXX.XX-201310042028472
39499-85726058-500acbc31eb6f307d1037cd19
8dcaf85fa7124ea3cb809610a339b7e19f58ccd4
e1-DA-6746-20131002172359088226
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 9 of 41 Page ID #:298
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 10 of 41 Page ID #:299




                                 Exhibit B
           Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 11 of 41 Page ID #:300


PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)


                                                Trademark/Service Mark Statement of Use
                                                      (15 U.S.C. Section 1051(d))


                                                    The table below presents the data as entered.

                                      Input Field                                                 Entered
             SERIAL NUMBER                                      85726058
             LAW OFFICE ASSIGNED                                LAW OFFICE 102
             EXTENSION OF USE                                   YES
             MARK SECTION
             MARK                                               http://tess2.uspto.gov/ImageAgent/ImageAgentProxy?getImage=85726058
             LITERAL ELEMENT                                    THRIVE
             STANDARD CHARACTERS                                YES
             USPTO-GENERATED IMAGE                              YES
                                                                The mark consists of standard characters, without claim to any particular
             MARK STATEMENT
                                                                font style, size or color.
             OWNER SECTION (current)
             NAME                                               Ecomundi Ventures, LLC
             STREET                                             42 Darrell Place
             CITY                                               San Francisco
             STATE                                              California
             ZIP/POSTAL CODE                                    94133
             COUNTRY                                            United States
             OWNER SECTION (proposed)
             NAME                                               Thrive Natural Care, Inc.
             STREET                                             42 Darrell Place
             CITY                                               San Francisco
             STATE                                              California
             ZIP/POSTAL CODE                                    94133
             COUNTRY                                            United States
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                003
                                                                Personal care products for cosmetic use, namely, hair shampoos and
                                                                conditioners, hair styling preparations; body and hand washes, soaps and
                                                                gels; non-medicated skin care preparations, namely facial lotions, cleansers
                                                                and creams, body lotions, creams and oils for cosmetic use, skin
             CURRENT IDENTIFICATION                             moisturizers; cosmetic sun care preparations and sunscreens; lip creams and
                                                                balms; antiperspirants and deodorants for personal use; shaving creams and
                                                                gels; pre-shaving preparations; after shave lotions and creams; non-
                                                                medicated baby care products, namely baby lotions, creams, body cleansers,
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 12 of 41 Page ID #:301


                                          shampoos, gels and washes, diaper rash creams and ointments
                                          Personal care products for cosmetic use, namely, hair shampoos and
                                          conditioners, hair styling preparations; body and hand washes, soaps and
GOODS OR SERVICES DELETED FROM THE        gels; non-medicated skin care preparations, namely body lotions; cosmetic
APPLICATION OR INCLUDED IN A REQUEST TO   sun care preparations and sunscreens; lip creams and balms; antiperspirants
DIVIDE                                    and deodorants for personal use; shaving creams and gels; non-medicated
                                          baby care products, namely baby lotions, creams, body cleansers,
                                          shampoos, gels and washes, diaper rash creams and ointments
                                          Non-medicated skin care preparations, namely facial lotions, cleansers and
GOODS OR SERVICES IN USE IN COMMERCE      creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving
                                          preparations; after shave lotions and creams
FIRST USE ANYWHERE DATE                   09/05/2013
FIRST USE IN COMMERCE DATE                09/05/2013
                                          \\TICRS\EXPORT16\IMAGEOUT 16\859\805\85980517\LM2Co
SPECIMEN FILE NAME(S)
                                          py\85726058\1\SOU13\SOU2.
SPECIMEN DESCRIPTION                      photograph of the products showing the mark as used
REQUEST TO DIVIDE                         YES
                                          Non-medicated skin care preparations, namely facial lotions, cleansers and
GOOD(S)/SERVICE(S) IN USE                 creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving
                                          preparations; after shave lotions and creams (Class 03)
                                          Personal care products for cosmetic use, namely, hair shampoos and
                                          conditioners, hair styling preparations; body and hand washes, soaps and
                                          gels; non-medicated skin care preparations, namely body lotions; cosmetic
GOOD(S)/SERVICES INTENT TO USE            sun care preparations and sunscreens; lip creams and balms; antiperspirants
                                          and deodorants for personal use; shaving creams and gels; non-medicated
                                          baby care products, namely baby lotions, creams, body cleansers,
                                          shampoos, gels and washes, diaper rash creams and ointments (Class 03)
PAYMENT SECTION
NUMBER OF CLASSES IN USE                  1
SUBTOTAL AMOUNT [ALLEGATION OF USE FEE]   100
REQUEST TO DIVIDE FEE                     100
NUMBER OF CLASSES REQUIRING NEW
APPLICATION FEE
                                          1

SUBTOTAL AMOUNT [NEW APPLICATION FEE]     325
TOTAL AMOUNT                              525
SIGNATURE SECTION
DECLARATION SIGNATURE                     /Alex G. McIntosh/
SIGNATORY'S NAME                          Alex G. McIntosh
SIGNATORY'S POSITION                      CEO & founder
DATE SIGNED                               10/03/2013
REQUEST TO DIVIDE SIGNATURE               /Ariana G. Hiscott/
SIGNATORY'S NAME                          Ariana G. Hiscott
SIGNATORY'S POSITION                      Attorney of Record, California Bar Member
DATE SIGNED                               10/04/2013
SIGNATORY'S PHONE NUMBER                  415-693-2171
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 13 of 41 Page ID #:302


AUTHORIZED SIGNATORY            YES
FILING INFORMATION
SUBMIT DATE                     Fri Oct 04 20:28:47 EDT 2013
                                USPTO/SOU-XXX.XXX.XXX.XX-
                                20131004202847239499-8572
                                6058-500acbc31eb6f307d103
TEAS STAMP                      7cd198dcaf85fa7124ea3cb80
                                9610a339b7e19f58ccd4e1-DA
                                -6746-2013100217235908822
                                6
           Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 14 of 41 Page ID #:303

PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)




                                              Trademark/Service Mark Statement of Use
                                                    (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:
MARK: THRIVE(Standard Characters, see http://tess2.uspto.gov/ImageAgent/ImageAgentProxy?getImage=85726058)
SERIAL NUMBER: 85726058
An Extension of Time form is being filed with the Allegation of Use.



The applicant, Thrive Natural Care, Inc., having an address of
    42 Darrell Place
    San Francisco, California 94133
    United States
is submitting the following allegation of use information:

For International Class 003:
Current identification: Personal care products for cosmetic use, namely, hair shampoos and conditioners, hair styling preparations; body and hand
washes, soaps and gels; non-medicated skin care preparations, namely facial lotions, cleansers and creams, body lotions, creams and oils for
cosmetic use, skin moisturizers; cosmetic sun care preparations and sunscreens; lip creams and balms; antiperspirants and deodorants for personal
use; shaving creams and gels; pre-shaving preparations; after shave lotions and creams; non-medicated baby care products, namely baby lotions,
creams, body cleansers, shampoos, gels and washes, diaper rash creams and ointments

This allegation of use does NOT cover the following goods/services listed in either the application or Notice of Allowance or as subsequently
modified for this specific class; these goods/services are either being permanently deleted or included in a Request to Divide: Personal care
products for cosmetic use, namely, hair shampoos and conditioners, hair styling preparations; body and hand washes, soaps and gels; non-
medicated skin care preparations, namely body lotions; cosmetic sun care preparations and sunscreens; lip creams and balms; antiperspirants and
deodorants for personal use; shaving creams and gels; non-medicated baby care products, namely baby lotions, creams, body cleansers,
shampoos, gels and washes, diaper rash creams and ointments

The mark is in use in commerce on or in connection with the following goods/services listed in either the application or Notice of Allowance or
as subsequently modified for this specific class: Non-medicated skin care preparations, namely facial lotions, cleansers and creams, creams and
oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams
The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 09/05/2013,
and first used in commerce at least as early as 09/05/2013, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) photograph of the products
showing the mark as used.
Specimen File1


REQUEST TO DIVIDE
The applicant is requesting to divide the application and specifies the following:
The following good(s) or service(s) is/are now in use: Non-medicated skin care preparations, namely facial lotions, cleansers and creams, creams
and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams (Class 03)
The following good(s) or service(s) remain(s) under the Section 1(b), intent to use basis: Personal care products for cosmetic use, namely, hair
shampoos and conditioners, hair styling preparations; body and hand washes, soaps and gels; non-medicated skin care preparations, namely body
lotions; cosmetic sun care preparations and sunscreens; lip creams and balms; antiperspirants and deodorants for personal use; shaving creams
and gels; non-medicated baby care products, namely baby lotions, creams, body cleansers, shampoos, gels and washes, diaper rash creams and
ointments (Class 03)


A fee payment in the amount of $100 will be submitted with the form, representing payment for the allegation of use for 1 class.

A fee payment in the amount of $100 will be submitted with the form, representing payment for the request to divide fee.

A fee payment in the amount of $325 will be submitted with the form, representing payment for the new application fee for 1 class.
       Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 15 of 41 Page ID #:304


                                                                   Declaration

Applicant requests registration of the above-identified trademark/service mark in the United States Patent and Trademark Office on the Principal
Register established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq., as amended). Applicant is the owner of the mark sought to be
registered, and is using the mark in commerce on or in connection with the goods/services identified above, as evidenced by the attached
specimen(s) showing the mark as used in commerce.

The undersigned, being hereby warned that willful false statements and the like so made are punishable by fine or imprisonment, or both, under
18 U.S.C. Section 1001, and that such willful false statements may jeopardize the validity of the form or any resulting registration, declares that
he/she is properly authorized to execute this form on behalf of the applicant; he/she believes the applicant to be the owner of the
trademark/service mark sought to be registered; and that all statements made of his/her own knowledge are true; and that all statements made on
information and belief are believed to be true.


Signature: /Alex G. McIntosh/   Date Signed: 10/03/2013
Signatory's Name: Alex G. McIntosh
Signatory's Position: CEO & founder

                                                           Request to Divide Signature


Signature: /Ariana G. Hiscott/ Date: 10/04/2013
Signatory's Name: Ariana G. Hiscott
Signatory's Position: Attorney of Record, California Bar Member

Signatory's Phone: 415-693-2171


RAM Sale Number: 85726058
RAM Accounting Date: 10/07/2013

Serial Number: 85726058
Internet Transmission Date: Fri Oct 04 20:28:47 EDT 2013
TEAS Stamp: USPTO/SOU-XXX.XXX.XXX.XX-201310042028472
39499-85726058-500acbc31eb6f307d1037cd19
8dcaf85fa7124ea3cb809610a339b7e19f58ccd4
e1-DA-6746-20131002172359088226
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 16 of 41 Page ID #:305
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 17 of 41 Page ID #:306
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 18 of 41 Page ID #:307




                                 Exhibit C
        Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 19 of 41 Page ID #:308


To:                  THRIVE NATURAL CARE, INC. (trademarks@cooley.com)
Subject:             TRADEMARK APPLICATION NO. 85726058 - THRIVE - 313705-20000
Sent:                11/05/13 10:26:35 AM
Sent As:             ecomitu@uspto.gov
Attachments:

                                 UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

      U.S. APPLICATION SERIAL NO.             85726058

      APPLICANT: THRIVE NATURAL CARE, INC.
                                                                                                   85726058
    CORRESPONDENT’S ADDRESS :
            John W. Crittenden
            COOLEY LLP
            1299 Pennsylvania Avenue NW, Suite 700
            WASHINGTON DC 20004

      MARK:         THRIVE

      CORRESPONDENT’S REFERENCE/DOCKET NO.               313705-20000

      CORRESPONDENT’S EMAIL ADDRESS :
              trademarks@cooley.com




 NOTICE OF DIVISIONAL REQUEST COMPLETED


ISSUE/MAILING DATE: 11/5/2013
U.S. Serial Number 85726058

The request to divide application serial no. 85726058 filed on October 4, 2013 has been processed as follows:

        (1) Parent (original) application serial no. 85726058 contains the following goods in class(es): 3 Personal care products for
        cosmetic use, namely, hair shampoos and conditioners, hair styling preparations; body and hand washes, soaps and gels;
        non-medicated skin care preparations, namely, body lotions; cosmetic sun care preparations and sunscreens; lip creams and
        balms; antiperspirants and deodorants for personal use; shaving creams and gels; non-medicated baby care products,
        namely, baby lotions, creams, body cleansers, shampoos, gels and washes, diaper rash creams and ointments. To avoid
        abandonment, applicant must continue to file requests for extension of time to file a statement of use (extension requests) or
        a statement of use within the six-month period after the issuance of the notice of allowance or before expiration of a
        previously granted extension period. 37 C.F.R. §§2.88(a), 2.89(a)-(b).

        (2) Child application serial no. 85980517 contains the following goods in class(es): 3 Non-medicated skin care preparations,
        namely, facial lotions, cleansers and creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations;
        after shave lotions and creams. A statement of use filed on October 4, 2013 has been placed in the child application and
        routed to the examining attorney for examination.

37 C.F.R. §2.87; see TMEP §§1110 et seq.

Please call the undersigned with any questions.
      Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 20 of 41 Page ID #:309




                                        /AntoinetteTorregano/
                                        Paralegal Specialist
                                        ITU/Divisional Unit
                                        Phone # 571 272-9514
                                        Fax # 571 273-9514


NO RESPONSE TO THIS NOTICE IS REQUIRED.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or
official notices, check the status of the application every three to four months using Trademark Status and Document Retrieval
(TSDR) at http://tsdr.uspto.gov/. Please keep a copy of the complete status screen. If TSDR shows no change for more than six
months, call 1-800-786-9199. For more information on checking status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at
http://www.uspto.gov/trademarks/teas/correspondence.jsp.

FOR INQUIRIES OR QUESTIONS ABOUT THIS OFFICE ACTION, PLEASE CONTACT THE ASSIGNED ITU STAFF MEMBER
IDENTIFIED ABOVE.
        Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 21 of 41 Page ID #:310


To:                   THRIVE NATURAL CARE, INC. (trademarks@cooley.com)
Subject:              TRADEMARK APPLICATION NO. 85726058 - THRIVE - 313705-20000
Sent:                 11/05/13 10:26:35 AM
Sent As:              ecomitu@uspto.gov
Attachments:



                                                    IMPORTANT NOTICE
                                      USPTO OFFICE ACTION HAS ISSUED ON 11/05/2013 FOR
                                              APPLICATION SERIAL NO. 85980517

Please follow the instructions below to continue the prosecution of your application:
VIEW OFFICE ACTION: Click on this link
http://tsdr.uspto.gov/view.action?DDA=Y&sn=85980517&type=OOA&date=20131105
(or copy and paste this URL into the address field of your browser), or visit http://tsdr.uspto.gov/ and enter the application serial number to
access the Office action.
PLEASE NOTE: The Office action may not be immediately available but will be viewable within 24 hours of this notification.
RESPONSE MAY BE REQUIRED: You should carefully review the Office action to determine (1) if a response is required, (2) how to
respond and (3) the applicable response time period. Your response deadline will be calculated from.
Do NOT hit 'Reply' to this e-mail notification, or otherwise attempt to e-mail your response, as the USPTO does NOT accept e-mailed
responses. Instead, the USPTO recommends that you respond online using the Trademark Electronic Application System response form
at http://www.uspto.gov/teas/eTEASpageD.htm.
HELP: For technical assistance in accessing the Office action, please e-mail tsdr@uspto.gov. Please contact the assigned examining attorney
with questions about the Office action.
                                                                   WARNING

1. The USPTO will NOT send a separate e-mail with the Office action attached.
2. Failure to file any required response by the applicable deadline will result in the ABANDONMENT of your application.
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 22 of 41 Page ID #:311




                                 Exhibit D
         Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 23 of 41 Page ID #:312



From:                       TMOfficialNotices@USPTO.GOV
Sent:                       Tuesday, December 10, 2013 00:12 AM
To:                         trademarks@cooley.com
Subject:                    Trademark Serial Number 85980517 : Official USPTO Notice of Acceptance of Statement of Use

                                                               NOTICE OF ACCEPTANCE OF STATEMENT OF USE

Serial Number: 85980517
Mark: THRIVE(STANDARD CHARACTER MARK)
Owner: THRIVE NATURAL CARE, INC.
Docket/Reference Number: 313705-20000

The USPTO has accepted the Statement of Use filed for the trademark application identified above. The mark will now register and the registration certificate will issue in due
course barring any extraordinary circumstances.

For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees, please consult the
USPTO website at http://www.uspto.gov/ or call the Trademark Assistance Center at 1-800-786-9199.

To check the status of an application, go to http://tarr.uspto.gov/.

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=85980517. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 24 of 41 Page ID #:313




                                 Exhibit E
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 25 of 41 Page ID #:314
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 26 of 41 Page ID #:315
      Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 27 of 41 Page ID #:316
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

 Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Tue Jul 27 03:32:22 EDT 2021




 Logout   Please logout when you are done to release system resources allocated for you.

 Start List At:                     Jump to record:
                               OR                                     Record 5 out of 7


                                                ( Use the "Back" button of the Internet Browser to return to TESS)




Word Mark THRIVE
Goods and IC 003. US 001 004 006 050 051 052. G & S: Non-medicated skin care preparations, namely, facial lotions, cleansers and
Services     creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams. FIRST
             USE: 20130905. FIRST USE IN COMMERCE: 20130905
Standard
Characters
Claimed
Mark
Drawing      (4) STANDARD CHARACTER MARK
Code
Serial
             85980517
Number
Filing Date September 11, 2012
Current
             1A
Basis
Original
             1B
Filing Basis
Published
for          February 12, 2013
Opposition
Registration
             4467942
Number
Registration
             January 14, 2014
Date
Owner        (REGISTRANT) THRIVE NATURAL CARE, INC. CORPORATION DELAWARE 42 DARRELL PLACE SAN FRANCISCO
             CALIFORNIA 94133
Assignment
             ASSIGNMENT RECORDED
Recorded
Attorney of
             STEPHEN CHARLES MCARTHUR
Record
Type of
             TRADEMARK
Mark
Register     PRINCIPAL
Affidavit
             SECT 15. SECT 8 (6-YR).
Text
Live/Dead LIVE
      Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 28 of 41 Page ID #:317
Indicator




                            |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 29 of 41 Page ID #:318




                                 Exhibit F
           Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 30 of 41 Page ID #:319


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PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)


                       Combined Declaration of Use and Incontestability under Sections 8 & 15


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             REGISTRATION NUMBER                                        4467942
             REGISTRATION DATE                                          01/14/2014
             SERIAL NUMBER                                              85980517
             MARK SECTION
             MARK                                                       THRIVE (see, https://tmng-al.uspto.gov/resting2/api/img/85980517/large)
             ATTORNEY SECTION (current)
             NAME                                                       Tsan Abrahamson
             ATTORNEY BAR MEMBERSHIP NUMBER                             NOT SPECIFIED

             YEAR OF ADMISSION                                          NOT SPECIFIED

             U.S. STATE/ COMMONWEALTH/ TERRITORY                        NOT SPECIFIED

             FIRM NAME                                                  Cobalt LLP
             INTERNAL ADDRESS                                           Building A21
             STREET                                                     918 Parker Street
             CITY                                                       Berkeley
             STATE                                                      California
             POSTAL CODE                                                94710
             COUNTRY                                                    United States
             PHONE                                                      510-841-9800
             FAX                                                        510-295-2401
             EMAIL                                                      trademarks@cobaltlaw.com
             AUTHORIZED TO COMMUNICATE VIA EMAIL                        Yes
             ATTORNEY SECTION (proposed)
             NAME                                                       Travis Manfredi
             ATTORNEY BAR MEMBERSHIP NUMBER                             XXX
             YEAR OF ADMISSION                                          XXXX
             U.S. STATE/ COMMONWEALTH/ TERRITORY                        XX
             FIRM NAME                                                  Cobalt LLP
             STREET                                                     1912 Bonita Avenue
             CITY                                                       Berkeley
             STATE                                                      California
             POSTAL CODE                                                94704
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 31 of 41 Page ID #:320


COUNTRY                               United States
PHONE                                 510-841-9800
FAX                                   510-295-2401
EMAIL                                 trademarks@cobaltlaw.com
AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
DOCKET/REFERENCE NUMBER               THRIVE 03
OTHER APPOINTED ATTORNEY              Tsan Abrahamson, Jessica Tam
CORRESPONDENCE SECTION (current)
NAME                                  Tsan Abrahamson
FIRM NAME                             Cobalt LLP
INTERNAL ADDRESS                      Building A21
STREET                                918 Parker Street
CITY                                  Berkeley
STATE                                 California
POSTAL CODE                           94710
COUNTRY                               United States
PHONE                                 510-841-9800
FAX                                   510-295-2401
EMAIL                                 trademarks@cobaltlaw.com
AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
CORRESPONDENCE SECTION (proposed)
NAME                                  Travis Manfredi
FIRM NAME                             Cobalt LLP
STREET                                1912 Bonita Avenue
CITY                                  Berkeley
STATE                                 California
POSTAL CODE                           94704
COUNTRY                               United States
PHONE                                 510-841-9800
FAX                                   510-295-2401
EMAIL                                 trademarks@cobaltlaw.com
AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
DOCKET/REFERENCE NUMBER               THRIVE 03
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                   003
                                      Non-medicated skin care preparations, namely, facial lotions, cleansers and
GOODS OR SERVICES                     creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving
                                      preparations; after shave lotions and creams
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 32 of 41 Page ID #:321


                                           \\TICRS\EXPORT17\IMAGEOUT 17\859\805\85980517\xml3\
SPECIMEN FILE NAME(S)
                                           8150002.JPG

                                           \\TICRS\EXPORT17\IMAGEOUT 17\859\805\85980517\xml3\
                                           8150003.JPG
SPECIMEN DESCRIPTION                       pages from registrant's online store
OWNER SECTION (current)
NAME                                       THRIVE NATURAL CARE, INC.
STREET                                     42 DARRELL PLACE
CITY                                       SAN FRANCISCO
STATE                                      California
ZIP/POSTAL CODE                            94133
COUNTRY                                    United States
OWNER SECTION (proposed)
NAME                                       THRIVE NATURAL CARE, INC.
STREET                                     42 DARRELL PLACE
CITY                                       SAN FRANCISCO
STATE                                      California
ZIP/POSTAL CODE                            94133
COUNTRY                                    United States
EMAIL                                      XXXX
AUTHORIZED TO COMMUNICATE VIA EMAIL        Yes
LEGAL ENTITY SECTION (current)
TYPE                                       corporation
STATE/COUNTRY OF INCORPORATION             Delaware
PAYMENT SECTION
NUMBER OF CLASSES                          1
NUMBER OF CLASSES PAID                     1
COMBINED §§ 8 & 15 FILING FEE PER CLASS    325
TOTAL FEE PAID                             325
SIGNATURE SECTION
SIGNATURE                                  /Alex McIntosh/
SIGNATORY'S NAME                           Alex McIntosh
SIGNATORY'S POSITION                       Co-founder & CEO
DATE SIGNED                                01/12/2020
SIGNATORY'S PHONE NUMBER                   510-841-9800
PAYMENT METHOD                             DA
                                          FILING INFORMATION
SUBMIT DATE                                Mon Jan 13 03:24:42 EST 2020
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 33 of 41 Page ID #:322


                                USPTO/S08N15-XXX.XXX.XX.X
                                XX-20200113032442552951-4
                                467942-70089506a637a5f11e
TEAS STAMP                      7a21c91ba36278b2c7709282c
                                bf3b6c28ddb2473a7a06856-D
                                A-24423788-20200109171007
                                823724
           Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 34 of 41 Page ID #:323


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PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)




                   Combined Declaration of Use and Incontestability under Sections 8 & 15
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4467942
REGISTRATION DATE: 01/14/2014

MARK: THRIVE

The owner, THRIVE NATURAL CARE, INC., a corporation of Delaware, having an address of
     42 DARRELL PLACE
     SAN FRANCISCO, California 94133
     United States
     XXXX (authorized)
is filing a Combined Declaration of Use and Incontestability under Sections 8 & 15.

For International Class 003, the mark is in use in commerce on or in connection with all of the goods/all of the services, or to indicate
membership in the collective membership organization, listed in the existing registration for this specific class: Non-medicated skin care
preparations, namely, facial lotions, cleansers and creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after
shave lotions and creams; and the mark has been continuously used in commerce for five (5) consecutive years after the date of registration, or
the date of publication under Section 12(c), and is still in use in commerce on or in connection with all goods/all services, or to indicate
membership in the collective membership organization, listed in the existing registration for this class. Also, no final decision adverse to the
owner's claim of ownership of such mark for those goods/services, or to indicate membership in the collective membership organization, exists,
or to the owner's right to register the same or to keep the same on the register; and, no proceeding involving said rights pending and not disposed
of in either the U.S. Patent and Trademark Office or the courts exists.

The owner is submitting one(or more) specimen(s) for this class showing the mark as used in commerce on or in connection with any item in this
class, consisting of a(n) pages from registrant's online store.
Specimen File1
Specimen File2

The applicant's current attorney information: Tsan Abrahamson. Tsan Abrahamson of Cobalt LLP, is located at

     Building A21
     918 Parker Street
     Berkeley, California 94710
     United States

The phone number is 510-841-9800.

The fax number is 510-295-2401.

The email address is trademarks@cobaltlaw.com

The applicants proposed attorney information: Travis Manfredi. Other appointed attorneys are Tsan Abrahamson, Jessica Tam. Travis Manfredi
of Cobalt LLP, is a member of the XX bar, admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is located at

   1912 Bonita Avenue
   Berkeley, California 94704
   United States
The docket/reference number is THRIVE 03.

The phone number is 510-841-9800.

The fax number is 510-295-2401.

The email address is trademarks@cobaltlaw.com
       Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 35 of 41 Page ID #:324



Travis Manfredi submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of
a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.


The applicant's current correspondence information: Tsan Abrahamson. Tsan Abrahamson of Cobalt LLP, is located at

   Building A21
   918 Parker Street
   Berkeley, California 94710
   United States

The phone number is 510-841-9800.

The fax number is 510-295-2401.

The email address is trademarks@cobaltlaw.com

The applicants proposed correspondence information: Travis Manfredi. Travis Manfredi of Cobalt LLP, is located at

   1912 Bonita Avenue
   Berkeley, California 94704
   United States
The docket/reference number is THRIVE 03.

The phone number is 510-841-9800.

The fax number is 510-295-2401.

The email address is trademarks@cobaltlaw.com

A fee payment in the amount of $325 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.


                                                                 Declaration
        Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
        or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
        Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
        connection with the goods/services/collective membership organization.
        The mark has been in continuous use in commerce for five consecutive years after the date of registration, or the date of publication
        under 15 U.S.C. § 1062(c), and is still in use in commerce on or in connection with all goods/services, or to indicate membership in the
        collective membership organization, listed in the existing registration.
        There has been no final decision adverse to the owner's claim of ownership of such mark for such goods/services, or to indicate
        membership in the collective membership organization, or to the owner's right to register the same or to keep the same on the register.
        There is no proceeding involving said rights pending and not finally disposed of either in the United States Patent and Trademark Office
        or in a court.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
        all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /Alex McIntosh/ Date: 01/12/2020
Signatory's Name: Alex McIntosh
Signatory's Position: Co-founder & CEO
Signatory's Phone: 510-841-9800
      Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 36 of 41 Page ID #:325


Mailing Address (current):
 Cobalt LLP
 918 Parker Street
 Berkeley, California 94710

Mailing Address (proposed):
 Cobalt LLP
 1912 Bonita Avenue
 Berkeley, California 94704

Serial Number: 85980517
Internet Transmission Date: Mon Jan 13 03:24:42 EST 2020
TEAS Stamp: USPTO/S08N15-XXX.XXX.XX.XXX-202001130324
42552951-4467942-70089506a637a5f11e7a21c
91ba36278b2c7709282cbf3b6c28ddb2473a7a06
856-DA-24423788-20200109171007823724
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 37 of 41 Page ID #:326
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 38 of 41 Page ID #:327
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 39 of 41 Page ID #:328
Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 40 of 41 Page ID #:329




                                Exhibit G
        Case 2:20-cv-09091-PA-AS Document 32-2 Filed 07/27/21 Page 41 of 41 Page ID #:330



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Saturday, March 7, 2020 11:00 PM
To:                        trademarks@cobaltlaw.com
Subject:                   Official USPTO Notice of Acceptance/Acknowledgement Sections 8 and 15: U.S. Trademark RN 4467942: THRIVE: Docket/Reference No. THRIVE
                           03

U.S. Serial Number: 85980517
U.S. Registration Number: 4467942
U.S. Registration Date: Jan 14, 2014
Mark: THRIVE
Owner: THRIVE NATURAL CARE, INC.



                                                                                 Mar 7, 2020

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                                NOTICE OF ACKNOWLEDGEMENT UNDER SECTION 15
The declaration of incontestability filed for the above-identified registration meets the requirements of Section 15 of the Trademark Act, 15 U.S.C. §1065. The Section 15
declaration is acknowledged.

The registration will remain in force for the class(es) listed below, unless canceled by an order of the Commissioner for Trademarks or a Federal Court, as long as
the requirements for maintaining the registration are fulfilled as they become due.

Class(es):
003




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                                         REQUIREMENTS FOR MAINTAINING REGISTRATION

WARNING: Your registration will be canceled if you do not file the documents below during the specified statutory time periods.

Requirements in the First Ten Years

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between the 9th and 10th years after the registration date.
See 15 U.S.C. §§1058, 1059.

Requirements in Successive Ten-Year Periods

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***THE USPTO IS NOT REQUIRED TO SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE OWNER SHOULD CONTACT THE USPTO
ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To check the status of this registration, go to
https://tsdr.uspto.gov/#caseNumber=85980517&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch or contact the Trademark Assistance
Center at 1-800-786-9199.

To view this notice and other documents for this registration on-line, go to
https://tsdr.uspto.gov/#caseNumber=85980517&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=documentSearch NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.

 *   For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees,
     please consult the USPTO website at https://www.uspto.gov/trademark/ or contact the Trademark Assistance Center at 1-800-786-9199.
